           Case 1:18-mj-00196-JFA Document 1 Filed 04/19/18 Page 1 of 1 PageID# 1


                           omplaint


                                     United States District Court
                                                               for the

                                             Eastern District of Virginia
                                                                                                       UWDER SEAL
                   United States of America
                              V.

                                                                         Case No.
                                                                                                                       '
                                                                                                                       . 00
                                                                                                                       T'-i 1\    9 2018
                   GEORGE AREF NADER

                         Defendant(s)


                                                CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                January 17, 2018              in the county of              Loudoun                   in the

      Eastern          District of           Virginia         ,the defendant(s) violated:

           Code Section                                                      Offense Description



Title 18, United States Code, Sec.            Transportation of Visual Depiction of Minors
2252(a)(1) and (b)(1)




         This criminal complaint is based on these facts:

Please see attached.




         Sf Continued on the attached sheet.



          Reviewed by AUSA/SAUSA:                                                            Complainant's signature

          Jay V. Prabhu, Chief, Cybercrime Unit                                    Special Agent Ted P. Delacourt, FBI
                                                                                             Printed name and title


 Sworn to before me and signed in my presence.
                                                                                        ./S/.
                                                                            John F. Anderson
 Date:          04/19/2018
                                                                            United States Magistrate Judg^
                                                                                                Judge's signature

 City and state:                     Alexandria, Virginia                          John F. Anderson, Magistrate Judge
                                                                                             Printed name and title
